        CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


David A. McDougall, Individually and as           Civil No. 20-1499 (JRT/LIB)
Trustee for the Next-of-Kin of Decedent
Cynthia A. McDougall,

              Plaintiff,                       CRC’s MEMORANDUM OF LAW IN
v.                                            SUPPORT OF MOTION TO COMPEL
                                                PRODUCTION OF MCDOUGALL-
CRC Industries, Inc., and John Doe                NEUMILLER SETTLEMENT
Company Defendants #1-10                                AGREEMENT

              Defendants.



      Defendant CRC Industries, Inc. ("CRC”) respectfully moves the Court to compel

plaintiff David McDougall to produce the settlement agreement resolving his state-

court lawsuit against Kyle Neumiller. Mr. McDougall did not produce that agreement

during discovery, despite CRC’s Document Request No. 17’s request for “[a]ll

documents reflecting or relating to any . . . civil legal proceedings in which Kyle

Neumiller has been a party. . . .” (Ernstene Dec., Ex. A.) The terms of the release in

that agreement are now vitally important to an issue at hand: for what monetary

amount should the Court order entry of judgment? CRC disputes the verdict for

reasons including those previously offered and in forthcoming post-trial motions.

Regardless, the McDougall-Neumiller settlement agreement likely used a Pierringer

release to allow Mr. McDougall to settle with Neumiller without extinguishing his

right to recover from CRC. If so, the damages award against CRC must be reduced by


                                          1
           CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 2 of 6




the 77.5% fault the jury apportioned to Neumiller, regardless whether Neumiller is

an intentional tortfeasor.1

       To ensure that the Court does not order entry of judgment in favor of

Mr. McDougall in violation of Minnesota Pierringer law, CRC respectfully requests that

the Court compel him to produce the McDougall-Neumiller settlement agreement. To

keep proceedings moving, and given the likelihood that Mr. McDougall’s counsel has

a copy of the agreement easily accessible, production should be ordered with a 7-day

deadline.


                                     BACKGROUND

       In a separate Minnesota state-court action, Mr. McDougall sued Neumiller

“individually and as parent and natural guardian of” his and Cynthia’s son, “and as

Trustee of the heirs of Cynthia Ann McDougall.” (Ernstene Dec., Ex. C at p. 1 (3-2-22

order, MN Court File No.: 39-CV-21-117.) On March 2, 2022, the Lake of the Woods

County district court approved Mr. McDougall’s petition for “authoriz[ation] to

execute such releases . . . as are necessary to settle with . . . Neumiller.” (Id. at p. 2,

¶ 1.) It added that Mr. McDougall “shall retain authority to continue pursuit of

addition and pending claims associated with this matter.”             (Id. at p. 3, ¶ 5.)

Mr. McDougall’s petition for approval of the settlement agreement that the state court


       1CRC stands by its position that whether Neumiller is an intentional tortfeasor
is immaterial. None of the joint-liability grounds apply. Minn. Stat. § 604.02, subd. 1.
Thus, CRC’s liability, if any (which it also contests), may not exceed that which is “in
the percentage of fault” that the jury attributed to CRC. Id.
                                            2
         CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 3 of 6




was granting had referenced the subject federal lawsuit. (Id., Ex. B at pp. 2-3, ¶ V, at

p. 5, ¶ 6 (2-3-22 Petition).)

       At trial, Mr. McDougall acknowledged signing that petition. (Trial Transcript,

Vol. 6, at 1303-1304.). By verdict, the jury found Neumiller 77.5% at fault, CRC 22.5%

at fault, and damages of $7.75 million. It also found that Neumiller was an intentional

tortfeasor. CRC disputes the verdict’s adverse findings.

       On April 26, 2024, after the jury returned a verdict of no punitive damages,

CRC’s counsel noted that CRC would be requesting the McDougall-Neumiller

settlement agreement from Mr. McDougall’s counsel. CRC’s counsel did so the next

day, via email. (Ernstene Dec., Ex. D.) Mr. McDougall’s counsel refused later that day.

(Id.) Further emails followed, with the same result: Mr. McDougall’s counsel does not

want to hand over the settlement agreement.


                                       ARGUMENT

       The Court should direct Mr. McDougall’s counsel to produce the McDougall-

Neumiller settlement to ensure the judgment ordered complies with Pierringer law.

Pierringer releases are the standard settlement device under Minnesota law that

allow parties to settle without “extinguish[ing] potential claims against remaining

alleged tortfeasors” not parties to the agreement. Bixler by Bixler v. J.C. Penney Co.,

376 N.W.2d 209, 215 (Minn. 1985). That is how plaintiffs avoid “the general rule of

law . . . that a release of one joint tortfeasor releases all others.” Frey v. Snelgrove, 269

N.W.2d 918, 921 (Minn. 1978).

                                             3
         CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 4 of 6




       When Mr. McDougall petitioned the state court to approve the McDougall-

Neumiller settlement agreement, he specifically referenced this federal lawsuit and

requested that the court approve that he would “retain authority to continue pursuit

of additional and pending claims associated with this matter.” (Ernstene Dec., Ex. B

at p. 5, ¶ 6.) The court permitted that reservation. (Id., Ex. C at p. 3, ¶ 5.)

       If, as is likely, the McDougall-Neumiller settlement agreement includes a

Pierringer agreement, its terms “limit” Mr. McDougall’s “recovery to the unsatisfied

percentage of the damages—the percentage attributable to then nonsettling tort-

feasor.” Frey, 269 N.W.2d at 922 (quotation omitted). “The settling tortfeasor under

a Pierringer release”—here, Neumiller—“settles for its fair share of plaintiff's award

as later determined by the trier of fact.” Rambaum v. Swisher, 435 N.W.2d 19, 22

(Minn. 1989). “[T]he nonsettling tortfeasor[]”—here, CRC—“will not pay more than

their fair share of the yet-to-be-determined plaintiff’s award.” Id. For example, in

Frederickson, the Minnesota Supreme Court affirmed the reduction of an $800,000

damages award by 40%--the fault the jury attributed to a joint tortfeasor who had

previously settled under a Pierringer release. Frederickson v. Alton M. Johnson Co., 402

N.W.2d 794, 795-97 (Minn. 1987). The Court so held “because the plaintiff released

(Pierringer) his cause of action to that extent.” Id. at 795 (Syllabus point 2) and 799.

       In refusing to disclose the settlement agreement, Mr. McDougall argued: “the

evidence is closed. Discovery is closed.” (Ernstene Dec., Ex. D.) Neither is a valid

basis for refusing to supplement Mr. McDougall’s production.


                                              4
           CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 5 of 6




As to discovery, Mr. McDougall has an ongoing duty to supplement his document

production “in a timely manner if [he] learns that in some material respect the

disclosure or response is incomplete . . . , and if the additional . . . information has not

otherwise been made known to the other parties during the discovery process or in

writing.” Fed. R. Civ. P. 26(e)(1)(A). To the extent Mr. McDougall did not know before,

his counsel now knows that his document production in response to Document

Request No. 17 is incomplete as the McDougall-Neumiller settlement agreement

“reflect[s] or relat[es] to any . . . civil legal proceedings in which Kyle Neumiller has

been a party.” (Ernstene Dec., Ex. A.) That agreement is material to what judgment,

if any, the Court should enter.2 Under Rule 26(e)(1)(A), Mr. McDougall has a duty to

produce that agreement. Cf. Apple Inc. v. Wi-LAN Inc., No. 14CV2235-DMS(BLM), 2019

WL 4253833, at *3 (S.D. Cal. July 22, 2019) (party “is not moving to reopen fact

discovery and instead, seeks only focused, supplemental discovery responses”).

       The Court may order the production under Fed. R. Civ. P. 26(e)(1)(B):

               (e) Supplementing Disclosures and Responses.

                     (1) In General. A party who has made a disclosure
                     under Rule 26(a)—or who has responded to
                     a[] . . . request      for       production . . . —must
                     supplement . . . its disclosure or response:
                             ...
                     (B) as ordered by the court.

Fed. R. Civ. P. 26(e)(1)(B).




       2   CRC maintains its position that the jury’s adverse findings were erroneous.
                                             5
        CASE 0:20-cv-01499-JRT-LIB Doc. 257 Filed 04/29/24 Page 6 of 6




       As to the trial evidence, this was not an issue for the jury, but for the Court.

Pierringer agreements become an issue for the Court only after a jury returns a

liability and damages verdict. See, e.g., Frederickson, 402 N.W.2d at 795 (holding that,

post-verdict, “[t]he trial court properly reduced the verdict by the settling defendant’s

fault”). The Court’s April 17, 2024 order noted that “if the jury finds that Neumiller is

an intentional tortfeasor, the Court will not permit CRC to limit its exposure to liability

to the extent of its fault.” (Doc. 229 at 3.) But the Court was addressing the role of

comparative fault, not the issue of a Pierringer release. The issue now is the scope of

the release, not whether Neumiller committed an intentional tort.


                                     CONCLUSION

       CRC respectfully asks the Court to direct Mr. McDougall to produce the

settlement agreement within seven calendar days of the Court’s order.


Dated: April 29, 2024.                    s/ Robert J Gilbertson
                                          Robert J. Gilbertson (# 22361X)
                                          David J. Wallace-Jackson (# 288767)
                                          Virginia R. McCalmont (# 399496)
                                          FORSGREN FISHER MCCALMONT
                                          DEMAREA TYSVER LLP
                                          Capella Tower
                                          225 South 6th Street, Suite 1500
                                          Minneapolis, MN 55402
                                          (612) 474-3300
                                          bgilbertson@forsgrenfisher.com
                                          dwallace-jackson@forsgrenfisher.com
                                          vmccalmont@forsgrenfisher.com

                                          Counsel for Defendant CRC Industries, Inc.


                                            6
